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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA

HAKEEM WHITE, on behalf of               §
himself and others similarly situated,   §    CIVIL ACTION NO. 1:22-cv-00141-
                                         §                ELR
                    Plaintiff,           §
                                         §
v.                                       §       JURY TRIAL DEMANDED
                                         §
SOMEONE CARES INC. OF                    §
ATLANTA, RONNIE E. BASS, and             §         COLLECTIVE ACTION
WINSTON LIBURD,                          §
                                         §
                    Defendants.


                         CERTIFICATE OF SERVICE

      I hereby certify that, on May 11, 2022, I served a true and correct copy of

Plaintiffs’ Initial Disclosures on Defendants’ counsel by e-mail, as follows:

                          Whitney M. DuPree
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                          Oviedo, Florida 32765

DATED this 11th day of May, 2022              Respectfully submitted,
                                              BAILEY COWAN HECKAMAN
                                              PLLC

                                              /s/Robert W. Cowan
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                                              Admitted Pro Hac Vice
                                              Hayden N. Wyatt
                                              Texas Bar No. 24125876

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                        CERTIFICATE OF SERVICE

      I certify that the above and foregoing document was filed via this Court’s

CM/ECF system, which automatically serves all registered counsel of record in

this case

                                             /s/ Robert W. Cowan
                                             Robert W. Cowan


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